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 1 JENNER & BLOCK LLP
   Reid J. Schar (pro hac vice)
 2 RSchar@jenner.com
   353 N. Clark Street
 3 Chicago, IL 60654-3456
   Telephone:     (312) 222-9350
 4 Facsimile:     (312) 527-0484

 5 CLARENCE DYER & COHEN LLP
   Kate Dyer (Bar No. 171891)
 6 kdyer@clarencedyer.com
   899 Ellis Street
 7 San Francisco, CA 94109-7807
   Telephone:     (415) 749-1800
 8 Facsimile:     (415) 749-1694

 9 CRAVATH, SWAINE & MOORE LLP
   Kevin J. Orsini (pro hac vice)
10 korsini@cravath.com
   825 Eighth Avenue
11 New York, NY 10019
   Telephone:     (212) 474-1000
12 Facsimile:     (212) 474-3700

13 Attorneys for Defendant PACIFIC GAS AND
   ELECTRIC COMPANY
14
                              UNITED STATES DISTRICT COURT
15
             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
16

17
     UNITED STATES OF AMERICA,               Case No. 14-CR-00175-WHA
18
                 Plaintiff,                  SUPPLEMENTAL RESPONSE TO
19                                           ORDER REQUESTING INFORMATION
           vs.                               ON DIXIE AND BADER FIRES
20
   PACIFIC GAS AND ELECTRIC
21 COMPANY,                                  Judge: Hon. William Alsup

22               Defendant.

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      SUPPLEMENTAL RESPONSE TO ORDER REQUESTING INFORMATION ON DIXIE AND BADER FIRES
                                  Case No. 14-CR-00175-WHA
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 1         Concurrently with this filing, Defendant Pacific Gas and Electric Company (“PG&E”) is

 2 providing a hard drive containing photos taken on July 18, 2021, and on July 26, 2021, at or near

 3 the points of interest described in PG&E’s submission dated July 28, 2021 (Dkt. 1408). Faces and

 4 names have been obscured to protect the privacy of all persons (employees, contractors, and law

 5 enforcement officials) participating on these occasions. In addition to these photographs, PG&E

 6 has six short video clips taken on the same occasions, which PG&E can provide to the Court upon

 7 request.

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11 Dated: August 4, 2021                                 Respectfully submitted,

12                                                       JENNER & BLOCK LLP

13                                                       By:    /s/ Reid J. Schar
                                                                Reid J. Schar (pro hac vice)
14
                                                         CRAVATH, SWAINE & MOORE LLP
15
                                                         By:    /s/ Kevin J. Orsini
16                                                              Kevin J. Orsini (pro hac vice)
17                                                       CLARENCE DYER & COHEN LLP
18
                                                         By:    /s/ Kate Dyer
19                                                              Kate Dyer (Bar No. 171891)
20
                                                         Attorneys for Defendant PACIFIC GAS AND
21                                                       ELECTRIC COMPANY
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      SUPPLEMENTAL RESPONSE TO ORDER REQUESTING INFORMATION ON DIXIE AND BADER FIRES
                                  Case No. 14-CR-00175-WHA
